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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:
                                                         Chapter 11
                                               1
THE MITCHELL GOLD CO., LLC, et al.,
                                                         Case No. 23-11385 (LSS)
                                 Debtors.
                                                         Jointly Administered

                                                        Hearing Date:
                                                        October 2, 2023, at 2:00 p.m. (ET)

                                                        Objection Deadline:
                                                        September 25, 2023, at 4:00 p.m. (ET)

                                                         Re: D.I. 27

 NOTICE OF DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
(I) AUTHORIZING THE DEBTORS TO HONOR CERTAIN CUSTOMER PRACTICES
  AND AUTHORIZE DEVELOPING THE MERCHANDISE RETRIEVAL PROCESS,
  (II) AFTER TITLE IS DETERMINED, GRANTING LIMITED RELIEF FROM THE
           AUTOMATIC STAY, AND (III) GRANTING RELATED RELIEF

               PLEASE TAKE NOTICE that on September 12, 2023, the above-captioned
debtors and debtors in possession (the “Debtors”) filed the Debtors’ Motion for Entry of Interim
and Final Orders (I) Authorizing the Debtors to Honor Certain Customer Practices and Authorize
Developing the Merchandise Retrieval Process, (II) After Title is Determined, Granting Limited
Relief from the Automatic Stay, and (III) Granting Related Relief [D.I. 27] (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that any responses or objections to the
Motion must (a) be in writing; (b) be filed with the Clerk of the Bankruptcy Court, 824 Market
Street, 3rd Floor, Wilmington, Delaware 19801, on or before September 25, 2023, at 4:00 p.m.
(ET) (the “Objection Deadline”); and (c) served so as to be received on or before the Objection
Deadline by the undersigned counsel to the Debtors.

           PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
WILL BE HELD ON OCTOBER 2, 2023, AT 2:00 P.M. (ET) BEFORE THE HONORABLE
LAURIE SELBER SILVERSTEIN AT THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 MARKET STREET, 6th FLOOR, WILMINGTON,
DELAWARE 19801.



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         The Debtors in these chapter 11 cases, along with the Debtors’ federal tax identification numbers
         are: The Mitchell Gold Co., LLC (8942) and SG-TMGC, LLC (0248). The Debtors’ addresses are,
         respectively, 135 One Comfortable Place, Taylorsville, North Carolina 28681 and P.O. Box 3417,
         Little Rock, Arkansas 72203.
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         PLEASE TAKE FURTHER NOTICE THAT ONLY OBJECTIONS MADE IN
WRITING AND TIMELY FILED AND RECEIVED IN ACCORDANCE WITH THE
PROCEDURES ABOVE WILL BE CONSIDERED BY THE COURT AT SUCH HEARING.

         IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.

Dated: September 15, 2023          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                   /s/ Evanthea Hammer
                                   Robert J. Dehney (No. 3578)
                                   Andrew R. Remming (No. 5120)
                                   Daniel B. Butz (No. 4227)
                                   Evanthea Hammer (No. 7061)
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                                   - and -

                                   RAYBURN COOPER & DURHAM, P.A.
                                   C. Richard Rayburn Jr. (admitted pro hac vice)
                                   Matthew L. Tomsic (admitted pro hac vice)
                                   Suite 1200, The Carillon
                                   227 West Trade Street
                                   Charlotte, NC 28202
                                   (704) 334-0891

                                   Proposed Counsel to the Debtors and
                                   Debtors in Possession




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